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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 25-21524-CV-WILLIAMS

   FLORIDA IMMIGRANT COALITION, et al.,

             Plaintiffs,

   v.

   JAMES UTHMEIER, et al.,

        Defendants.
   ___________________________________/

                                               ORDER

             THIS MATTER is before the Court on Plaintiffs’ Motion for a Temporary

   Restraining Order (“TRO”) and Preliminary Injunction (DE 4) (“Motion”). 1 For the reasons

   set forth below, the Motion (DE 4) is GRANTED.

        I.   BACKGROUND

             On February 13, 2025, Florida Senate Bill 4-C (“S.B. 4-C”) went into effect. S.B. 4-

   C creates two new state law offenses: ‘Illegal Entry by Adult Unauthorized Alien into This

   State’ and ‘Illegal Reentry of an Adult Unauthorized Alien.’ Fla. Stat. §§ 811.102–.103.

   Section 811.102(1) prohibits any “unauthorized alien who is 18 years of age or older” 2

   from “knowingly enter[ing] or attempt[ing] to enter” Florida “after entering the United


   1 Plaintiffs have personally served Defendants James Uthmeier, Nicholas B. Cox, and

   Jack Campbell. (DE 23 at 1.) Plaintiffs have conferred with Arthur I. Jacobs, who purports
   to represent all state attorney Defendants, and sent him copies of the Complaint, Motion
   for TRO, and all other filings thus far via email. (Id.) This, along with the facts contained
   within the declarations attached to Plaintiffs’ Class Action Complaint (DE 1), fulfills the
   procedural requirements for issuance of a TRO. Fed. R. Civ. P. 65(b)(1).
   2 An “unauthorized alien” is defined as anyone unlawfully present in the United States

   under the Immigration and Nationality Act and any other applicable federal law. Fla. Stat.
   § 811.101(2) (referring to section 908.111).

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   States by eluding or avoiding examination or inspection by immigration officers” (“illegal

   entry”). A first conviction for illegal entry is a first-degree misdemeanor, requiring a

   mandatory minimum sentence of nine months’ imprisonment, while subsequent

   convictions are felonies with escalating mandatory minimum sentences. Fla. Stat. §

   811.102(1)–(3). Under subsection 811.103(1), an adult “unauthorized alien” commits a

   third-degree felony, if they “enter[], attempt[] to enter, or [are] at any time found in” Florida

   after “having been denied admission, excluded, deported, or removed or having departed

   the United States during the time an order of exclusion, deportation, or removal is

   outstanding” (“illegal reentry”). Importantly, the scheme requires courts to presume that

   “no conditions of release can reasonably assure the presence” of any individual arrested

   under either provision and to order their detention without bond pending disposition of the

   case. Fla. Stat. §§ 811.102(5), 811.103(4).

          On April 2, 2025, Plaintiffs filed a Class Action Complaint (DE 1) (“Complaint”),

   seeking injunctive relief barring enforcement of S.B. 4-C by state and local officials and a

   declaration that the law violates the United States Constitution’s Supremacy and

   Commerce Clauses. (DE 1 at 17.) Plaintiffs include individuals V.V. and Y.M. (collectively

   (“Individual Plaintiffs”), who allege they are at risk of arrest and prosecution under the

   statute, and two grassroots membership organizations, Farmworker Association of

   Florida,   Inc.   (“FWAF”)    and   Florida    Immigrant    Coalition   (“FLIC”)    (collectively

   “Organizational Plaintiffs”), which support members who are similarly at risk. 3 (Id. ¶¶ 8,




   3 Plaintiffs filed a Motion for Class Certification (DE 5), seeking certification of two classes

   with individuals potentially subject to the “illegal entry” and “illegal reentry” provisions of
   S.B. 4-C. (DE 5 at 1.) That motion is pending before the Court.

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   11–24, 26–28.) On the same day, Plaintiffs sought a TRO pausing enforcement of S.B.

   4-C pending the Court’s consideration of their request for a preliminary injunction. (DE 4.)

    II.   LEGAL STANDARD

          Rule 65 of the Federal Rules of Civil Procedure authorizes courts to grant a

   preliminary injunction or temporary restraining order before final judgment in limited

   circumstances. The purpose of this injunctive relief is to “preserve the status quo until the

   [Court] renders a meaningful decision on the merits.” Schiavo ex rel. Schindler v. Schiavo,

   403 F.3d 1223, 1231 (11th Cir. 2005). The primary difference between a preliminary

   injunction and TRO is that a TRO “may be entered before the defendant has an adequate

   opportunity to respond.” Dragados USA, Inc. v. Oldcastle Infrastructure, Inc., No. 20-cv-

   20601, 2020 WL 733037, at *2 (S.D. Fla. Feb. 13, 2020). As such, the duration of a TRO

   is limited to fourteen days, absent an extension for good cause. Fed. R. Civ. P. 65(b)(2).

          To merit a TRO, as with a preliminary injunction, Plaintiffs must show:

          (1) a substantial likelihood of success on the merits; (2) that the [TRO] is
          necessary to prevent irreparable injury; (3) that the threatened injury
          outweighs the harm the [TRO] would cause the other litigant; and (4) that
          the [TRO] would not be averse to the public interest.

   Gissendaner v. Comm’r, Ga. Dept. of Corr., 779 F.3d 1275, 1280 (11th Cir. 2015)

   (quoting Wellons v. Comm’r, Ga. Dept. of Corr., 754 F.3d 1260, 1263 (11th Cir.

   2014)); see also Windsor v. United States, 379 F. App’x 912, 916–17 (11th Cir.

   2010) (explaining that “the four criteria for obtaining a preliminary injunction are

   identical to those for issuance of a temporary restraining order”). Plaintiffs bear

   “the burden of persuasion to clearly establish all four of these prerequisites.” Wreal,

   LLC v. Amazon.com, Inc., 840 F.3d 1244, 1247 (11th Cir. 2016).




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   III.   DISCUSSION

          As a preliminary matter, the Court must address Plaintiffs’ standing to seek their

   requested relief. See Farmworker Ass’n of Fla. v. Moody, 734 F. Supp. 3d 1311, 1321

   (S.D. Fla. 2024) (deciding the “threshold matter” of the plaintiffs’ standing before reaching

   the merits of their preliminary injunction request). Next, the Court will discuss why the four

   factors relevant to injunctive relief favor granting a TRO in this case.

      A. Plaintiffs have standing to bring this action.

          Plaintiffs who invoke “the jurisdiction of a federal court bear[] the burden to show

   ‘(1) an injury in fact, meaning an injury that is concrete and particularized, and actual or

   imminent, (2) a causal connection between the injury and the causal conduct, and (3) a

   likelihood that the injury will be redressed by a favorable decision.’” CAMP Legal Def.

   Fund, Inc. v. City of Atlanta, 451 F.3d 1257, 1269 (11th Cir. 2006) (quoting Granite State

   Outdoor Advert., Inc. v. City of Clearwater, 351 F.3d 1112, 1116 (11th Cir. 2003)).

          “Injury in fact reflects the statutory requirement that a person be adversely affected

   or aggrieved, and it serves to distinguish a person with a direct stake in the outcome of a

   litigation—even though small—from a person with a mere interest in the problem.” Arcia

   v. Fla. Sec'y of State, 772 F.3d 1335, 1340 (11th Cir. 2014) (quoting United States v.

   Students Challenging Regul. Agency Procs., 412 U.S. 669, 689 n.14 (1973)). An injury-

   in-fact is “an invasion of a legally protected interest which is (a) concrete and

   particularized and (b) actual or imminent, not conjectural or hypothetical.” Lujan v. Defs.

   of Wildlife, 504 U.S. 555, 560 (1992) (citations omitted).




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      1. Individual Plaintiffs

          V.V. is a FWAF member who was previously deported and last reentered the

   United States without inspection in 2014. (DE 1 ¶ 16.) She now lives in Florida with her

   husband and her four U.S.-citizen children. (Id.) Y.M. is a FLIC member living in Florida,

   who entered the United States without inspection more than twenty years ago. (Id. ¶¶ 26–

   27.) Y.M. leaves Florida twice a year with her minor U.S.-citizen son who has a disability.

   (Id. ¶¶ 26–27.) Individual Plaintiffs argue that they are at imminent risk of arrest and

   detention as they are subject to prosecution and imprisonment under the language of S.B.

   4-C. (Id. ¶ 59.) “When the harm alleged is prospective, as it was here, a plaintiff can satisfy

   the injury-in-fact requirement by showing imminent harm. While the threatened future

   injury cannot be merely hypothetical or conjectural, probabilistic harm is enough.” Arcia,

   772 F.3d at 1341 (citations omitted). As law enforcement agencies in Florida have already

   made several arrests pursuant to S.B. 4-C, the Court finds that there is a realistic

   probability that Individual Plaintiffs could be subject to arrest and prosecution under S.B.

   4-C. It is irrelevant that they have not yet been arrested or prosecuted: “When an

   individual is subject to [the threatened enforcement of a law], an actual arrest,

   prosecution, or other enforcement action is not a prerequisite to challenging the law.”

   Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014). Consequently, Individual

   Plaintiffs have sufficiently established an injury-in-fact for standing purposes.

      2. Organizational Plaintiffs

          For the reasons discussed, infra, the Court finds that Individual Plaintiffs have

   standing. Therefore, it is unnecessary for the Court to engage in a full standing analysis

   of the claims made by Organizational Plaintiffs. See Greater Birmingham Ministries v.



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   Sec’y of State for State of Alabama, 992 F.3d 1299, 1317 (11th Cir. 2021); see also

   Glassroth v. Moore, 335 F.3d 1282, 1293 (11th Cir. 2003) (“Having concluded that those

   two plaintiffs have standing, we are not required to decide whether the other plaintiff . . .

   has standing.”). But see Farmworker Ass’n of Fla., 734 F. Supp. 3d at 1328 (finding

   farmworker association had organizational standing to challenge alien transportation law

   because the law’s enforcement would impair the organization’s ability to engage in its

   projects and divert resources to counteracting the law’s effects).

      3. Traceability & Redressability

          Finally, “[w]hen traceability and redressability are at stake, the key questions are

   who caused the injury and how it can be remedied.” City of S. Miami v. Governor, 65 F.4th

   631, 640 (11th Cir. 2023). Here, the injury is arrest and prosecution under S.B. 4-C.

   Plaintiffs contend that Defendant Attorney General of Florida and the remaining

   Defendants are empowered to enforce S.B. 4-C. (DE 1 ¶ 30–32.) Therefore, at this

   juncture, Plaintiffs’ threatened arrest and prosecution are traceable to Defendants based

   on their general authority to enforce and bring prosecutions under the criminal laws of

   Florida. See Georgia Latino All. for Human Rts. v. Governor of Georgia, 691 F.3d 1250,

   1260 (11th Cir. 2012) (“GLAHR”) (plaintiffs’ risk of arrest and prosecution under criminal

   law was traceable to passage of the bill and redressable by an injunction).

          To determine redressability, the Court focuses “on whether the injury that a plaintiff

   alleges is likely to be redressed through the litigation.” Sprint Commc’ns Co., L.P. v. APCC

   Servs., Inc., 554 U.S. 269, 287 (2008) (emphasis in original). “[I]t must be the effect of the

   court’s judgment on the defendant—not an absent third party—that redresses the

   plaintiff’s injury, whether directly or indirectly.” Lewis v. Governor of Alabama, 944 F.3d



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   1287, 1301 (11th Cir. 2019) (citations omitted). Defendants are state officials tasked with

   the enforcement of S.B. 4-C and empowered to prosecute individuals who do not comply

   with the law. As Defendants’ authority to enforce S.B. 4-C causes Plaintiffs’ injuries,

   enjoining Defendants from doing so will directly redress those injuries. Put another way,

   Plaintiffs’ requested relief—an order declaring the entry and reentry provisions of S.B. 4-

   C to be unlawful and enjoining Defendants’ from enforcing those provisions—will directly

   redress Plaintiffs’ reasonable fear that the challenged law will be enforced against them

   or their members by Defendants. Given that Plaintiffs have standing, the Court will

   address the remainder of the factors governing their TRO request.

      B. Plaintiffs have fulfilled the criteria for issuance of a TRO

          In order to obtain a TRO, Plaintiffs must establish the four prerequisites noted

   supra p. 3. The Court addresses each.

      1. Likelihood of success on the merits

          Plaintiffs argue S.B. 4-C violates the Supremacy Clause by creating a statutory

   scheme in an area exclusively reserved for the federal government that conflicts with

   existing federal immigration law and its enforcement. (DE 4 at 5); see U.S. Const. art. VI

   (making federal law the “supreme Law of the Land”). Plaintiffs further contend that S.B.

   4-C runs afoul of the Commerce Clause’s implicit limitation on states’ power to restrict the

   interstate movement of people. (DE 4 at 14); see U.S. Const. art. I, § 8, cl. 3 (giving

   Congress the power to “regulate Commerce with foreign Nations, and among the several

   States, and with the Indian Tribes”). The Court agrees that, at this early stage, Plaintiffs

   have shown they are likely to succeed on the merits.




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          a. Supremacy Clause

          States are preempted under the Supremacy Clause “from regulating conduct in a

   field that Congress, acting within its proper authority, has determined must be regulated

   by its exclusive governance.” Arizona v. United States, 567 U.S. 387, 399 (2012) (holding

   the field of alien registration is field preempted). In 1952, Congress passed the

   Immigration and Nationality Act (“INA”), 8 U.S.C. § 1101, et seq., a comprehensive

   framework regulating the entry, presence, and removal of noncitizens. See Patel v.

   Garland, 596 U.S. 328, 331 (2022) (“Congress has comprehensively detailed the rules by

   which noncitizens may enter and live in the United States. When noncitizens violate those

   rules, Congress has provided procedures for their removal.”); GLAHR, 691 F.3d at 1263–

   64 (“T]he federal government has clearly expressed more than a ‘peripheral concern’ with

   the entry, movement, and residence of aliens within the United States . . . and the breadth

   of [the INA] illustrates an overwhelmingly dominant federal interest in the field.”) (holding

   Georgia’s statutes criminalizing transporting, moving, harboring, or inducing an illegal

   alien to enter the state were field preempted); see also 8 U.S.C. §§ 1325, 1326 (creating

   a federal statutory scheme criminalizing illegal entry and reentry into the United States).

   Thus, the federal government has exercised its “broad, undoubted power over the subject

   of immigration and the status of aliens.” Arizona, 567 U.S. at 394. As in the areas of alien

   registration and transportation, the INA’s comprehensive regulation over noncitizen entry

   and reentry likely preempts any state regulation covering the field.

          Provisions within S.B. 4-C that define illegal entry and reentry through reference

   to federal law, 4 or create affirmative defenses where the federal government has given


   4 See supra n.2.



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   an individual reprieve from deportation or removal, 5 do not save the statute. “Where

   Congress occupies an entire field . . . even complementary state regulation is

   impermissible.” Arizona, 567 U.S. at 401; see also United States v. Texas, 97 F.4th 268,

   286 (5th Cir. 2024) (dismissing Texas’s argument that illegal reentry provisions which

   “mirror” the federal equivalent are permissible as “ignor[ing] the basic premise of field

   preemption—that States may not enter, in any respect, an area the Federal Government

   has reserved for itself.”) (internal quotations omitted).

          Moreover, “state laws are preempted when they conflict with federal law.” Arizona,

   567 U.S. at 399. This includes when compliance with both laws is a “physical

   impossibility[,]” but also when a challenged law simply impedes “the accomplishment and

   execution of the full purposes and objectives of Congress.” Id. (first quoting Fla. Lime &

   Avocado Growers, Inc. v. Paul, 373 U.S. 132, 142–43 (1963) and then quoting Hines v.

   Davidowitz, 312 U.S. 52, 62 (1941)). For example, even when Arizona imposed a state

   law penalty for conduct already proscribed by the federal government, willful failure to

   complete or carry an alien registration card, the Supreme Court concluded that

   “[permitting] the State to impose its own penalties for the federal offenses here would

   conflict with the careful framework Congress adopted.” Arizona, 567 U.S. at 402. The

   state could prosecute violations even when federal officials determined they would

   “frustrate federal policies.” Id.; see also GLAHR, 691 F.3d at 1265 (“By confining the

   prosecution of federal immigration crimes to federal court, Congress limited the power to

   pursue those cases to the appropriate United States Attorney.”). Further, inconsistencies

   between penalties under the state and federal schemes create a conflict. Arizona, 567


   5 See Fla. Stat. § 811.102(4).



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   U.S. at 402–03 (state laws precluding a sentence of probation conflicted with federal laws

   allowing probation for the same conduct).

          S.B. 4-C appears to suffer from the same infirmities as the alien registration law

   struck down in Arizona. First, it gives state officials authority to prosecute illegal entry or

   reentry in cases where federal actors may choose not to. Even when federal officials

   choose to commence dual prosecutions under both laws, S.B. C-4’s mandatory detention

   provision limits federal law enforcement discretion to recommend pre-trial release and

   obstructs federal courts’ ability to conduct proceedings requiring defendants’ presence.

   Additionally, S.B. 4-C requires mandatory prison sentences for state law violations where

   the INA allows for a fine or probation for the equivalent federal crime. Compare Fla. Stat.

   § 811.102 (mandating a minimum of a nine-month prison sentence for a first illegal entry

   conviction), with 8 U.S.C. § 1325(a) (authorizing a maximum prison sentence of six

   months but not mandating any incarceration upon a first improper entry).

          Finally, across the country, courts have concluded that nearly identical illegal entry

   and reentry laws are likely preempted on both grounds by federal immigration law

   governing noncitizen entry. See e.g., United States v. Iowa, 126 F.4th 1334, 1346 (8th

   Cir. 2025) (affirming preliminary injunction against Iowa’s illegal entry and reentry law,

   after holding the law conflicts “with federal law because it creates a parallel scheme of

   enforcement for immigration law.”); Texas, 97 F.4th at 287–88 (holding Texas had not

   shown its illegal entry scheme was not both field and conflict preempted by federal law);

   United States v. Oklahoma, 739 F. Supp. 3d 985, 999 (W.D. Okla. 2024) (“[T]here is

   strong support for the conclusion that Congress has legislated so comprehensively in the

   field of noncitizen entry and reentry that it left no room for supplementary state



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   legislation.”) (internal quotations omitted), appeal filed, No. 24-6144 (10th Cir. 2024); Ex

   Parte Temporary Restraining Order, Idaho Org. of Res. Councils Inc. v. Labrador, No. 25-

   cv-00178- AKB (D. Idaho Mar. 27, 2025) (issuing TRO against similar Idaho law), ECF

   No. 16.

          In short, “[f]or nearly 150 years, the Supreme Court has held that the power to

   control immigration—the entry, admission, and removal of noncitizens—is exclusively a

   federal power.” Texas, 97 F.4th at 278–79. Plaintiffs persuasively posit that S.B. 4-C

   unlawfully encroaches upon that power.

          b. Commerce Clause

          Plaintiffs also argue S.B. 4-C violates the Commerce Clause, which gives

   Congress power to “regulate Commerce with foreign Nations, and among the several

   States, and with the Indian Tribes.” U.S. Const. art. I, § 8, cl 3; see (DE 4 at 14). That

   power “encompasses the movement in interstate commerce of persons as well as

   commodities.” United States v. Guest, 383 U.S. 745, 758–59 (1966); see also Edwards

   v. California, 314 U.S. 160, 172 (1941) (“[I]t is settled beyond question that the

   transportation of persons is ‘commerce’, within the meaning of the” Commerce Clause).

   Implicit in Congress’s power to regulate interstate commerce is an “implicit or ‘dormant’

   limitation on the authority of the States to enact legislation affecting interstate commerce.”

   Fla. Transp. Servs., Inc. v. Miami-Dade Cnty., 703 F.3d 1230, 1243 (11th Cir. 2012).

   When a scheme “directly regulates or discriminates against interstate commerce” it will




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   generally be “struck down . . . without further inquiry.” Bainbridge v. Turner, 311 F.3d

   1104, 1109 (11th Cir. 2002). 6

          Here, Plaintiffs assert that S.B. C-4 facially discriminates against interstate

   commerce by criminalizing entry across Florida’s border only by certain noncitizens. (DE

   4 at 14–15.) Although the Court has determined that a TRO is appropriate based on

   Plaintiffs’ preemption argument, it should be noted that courts nationwide have

   determined similar statutes violate the dormant Commerce Clause on this basis. E.g.,

   Edwards, 314 U.S. at 174, 177 (striking down California’s ban on transportation of

   indigent nonresidents into the state because it had the “plain and sole function” of

   restricting interstate commerce); United States v. Texas, 719 F. Supp. 3d 640, 679 (W.D.

   Tex. 2024) (holding “[o]n its face, [Texas’ illegal entry law] discriminates against foreign

   commerce,” so violates the dormant Commerce Clause). Therefore, at this juncture,

   Plaintiffs’ Commerce Clause analysis also supports their request for a TRO.

      2. Irreparable injury

      Plaintiffs argue that, absent an immediate pause to enforcement of S.B. 4-C, they will

   suffer irreparable harm by being placed at risk of arrest, prosecution, and detention under

   an unconstitutional state statute. (DE 4 at 16.) In their Supplemental Response, Plaintiffs

   note several reports documenting recent arrests pursuant to S.B. 4-C. (DE 23 at 2.) One

   news source quotes the Brevard County Sheriff Wayne Ivey stating his office was “seeing

   cases like this six to seven times a week.” Space Coast Daily, First Arrest Made Under


   6 A law may be excepted from this nearly per se rule if it is shown to “advance a local

   purpose that cannot be adequately served by reasonable nondiscriminatory alternatives.”
   Id. (quoting New Energy Co. of Indiana v. Limbach, 486 U.S. 269, 278 (1988)). But given
   that S.B. 4-C basically duplicates existing federal law, it is unlikely Florida can make a
   showing that its state law version is necessary.

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   Florida’s New Immigration Law Happens in Brevard County (Mar. 13, 2025),

   https://perma.cc/D3DQ-UNKA. As discussed, supra pp. 5–6, the individual Plaintiffs’

   declarations confirm they are at risk of arrest and prosecution given ongoing enforcement

   of the S.B. 4-C. Likewise, the Organizational Plaintiffs’ declarations support the

   conclusion that a subset of their members may be susceptible to the law’s enforcement.

   (DE 4-2 at 3–4; DE 4-3 at 3–4) (attesting to the many FWAF and FLIC members without

   documentation who regularly travel between Florida and other states). Because “Plaintiffs

   are under the threat of state prosecution for crimes that conflict with federal law,” a TRO

   is necessary to mitigate the risk of irreparable harm from S.B. 4-C. GLAHR, 691 F.3d at

   1269.

      3. Balance of equities and public interest

      For similar reasons, the balance of equities and the public interest favors granting a

   TRO. “These two factors merge when, as here, the government is the opposing party.”

   Farmworker Ass’n of Fla., 734 F. Supp. 3d at 1342. The harm to Defendants from briefly

   suspending enforcement of S.B. 4-C is minimal, especially given that similar federal

   provisions already exist and may be enforced against appropriate persons in Florida.

   More importantly, the Court has already determined Plaintiffs are likely to succeed on the

   merits, and Defendants have “no legitimate interest in enforcing an unconstitutional law.”

   Honefund.com Inc. v. Governor, 94 F.4th 1272, 1283 (11th Cir. 2024) (internal quotations

   omitted).


    IV.    CONCLUSION

      For the reasons set forth above, it is ORDERED AND ADJUDGED as follows:

      1. Plaintiffs’ Motion for a Temporary Restraining Order (DE 4) is GRANTED.


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      2. The Court ENTERS a TRO prohibiting Defendants and their officers, agents,

         employees, attorneys, and any person who are in active concert or participation

         with them from enforcing SB 4-C, codified as Florida Statutes sections 811.102–

         .103. This TRO shall last fourteen (14) days from the date of this Order.

      3. A Preliminary Injunction Hearing is SET for April 18, 2025 at 10:00 a.m. before

         the Honorable Kathleen M. Williams in Room 11-3 of the Wilkie D. Ferguson, Jr.

         United States Courthouse, located at 400 North Miami Avenue in Miami, Florida.

      DONE AND ORDERED in Chambers in Miami, Florida, on this 4th day of April, 2025.




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